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       IN THE COMMONWEALTH COURT OF PENNSYLVANIA

Carol Ann Carter, Monica Parrilla,       :          CASES CONSOLIDATED
Rebecca Poyourow, William Tung,          :
Roseanne Milazzo, Burt Siegel,           :
Susan Cassanelli, Lee Cassanelli,        :
Lynn Wachman, Michael Guttman,           :
Maya Fonkeu, Brady Hill, Mary Ellen      :
Balchunis, Tom DeWall,                   :
Stephanie McNulty and Janet Temin,       :
                        Petitioners      :
                                         :
                   v.                    :          No. 464 M.D. 2021
                                         :
Veronica Degraffenreid, in her official :




                                                       M
                                                       O
capacity as the Acting Secretary of the :



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                                                      T.
Commonwealth of Pennsylvania;            :
                                                    KE
Jessica Mathis, in her official capacity :         C
                                                O
                                              YD

as Director for the Pennsylvania Bureau :
                                              AC




of Election Services and Notaries,       :
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                                          O




                           Respondents :
                                      EM
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Philip T. Gressman; Ron Y. Donagi;       :
                              D
                            VE




Kristopher R. Tapp; Pamela Gorkin;       :
                           IE
                          R




David P. Marsh; James L. Rosenberger;    :
                        ET
                       R




Amy Myers; Eugene Boman;                 :
Gary Gordon; Liz McMahon;                :
Timothy G. Feeman; and Garth Isaak,      :
                         Petitioners     :
                                         :
                    v.                   :          No. 465 M.D. 2021
                                         :
Veronica Degraffenreid, in her official :
capacity as the Acting Secretary of the :
Commonwealth of Pennsylvania;            :
Jessica Mathis, in her official capacity :
as Director for the Pennsylvania Bureau :
of Election Services and Notaries,       :
                            Respondents :
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                                      ORDER

              AND NOW, this 14th day of January, 2022, in consideration of the
petitions to intervene and the applications for expedited review and the responses
thereto filed in the above-consolidated actions, it is hereby ORDERED:

   1. This Order supersedes this Court’s December 20, 2021 Order.

   2. The Applications for Leave to Intervene of: (i) the Speaker and Majority
      Leader of the Pennsylvania House of Representative and the President Pro
      Tempore and Majority Leader of the Pennsylvania Senate, (ii) Pennsylvania
      State Senators Maria Collett, Katie J. Muth, Sharif Street, and Anthony H.
      Williams; (iii) Tom Wolf, Governor of the Commonwealth of Pennsylvania;
      (iv) Senator Jay Costa and members of the Democratic Caucus of the Senate




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      of Pennsylvania; (v) Representative Joanna E. McClinton, Leader of the


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      Democratic Caucus of the Pennsylvania House of Representatives; and (vi)
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      Congressman Guy Reschenthaler, Swatara Township Commissioner Jeffrey
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      Varner, Tom Marino, Ryan Costello, and Bud Shuster are GRANTED.
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      Pursuant to the Notice of Amendment and Joinder from Senate Democratic
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      Caucus Intervenors and Democratic Senator Intervenors, the Applications for
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      Leave to Intervene of: (i) Pennsylvania State Senators Maria Collett, Katie J.
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      Muth, Sharif Street, and Anthony H. Williams; and (ii) Senator Jay Costa and
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      members of the Democratic Caucus of the Senate of Pennsylvania are hereby
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      joined, and these individuals shall constitute a single party. The Application
      for Intervention filed by Democratic Senator Intervenors shall be withdrawn.
      Democratic Senator Intervenors are added to the Senate Democratic Caucus
      Intervenors’ Application for Intervention.

      These intervenors which are hereinafter referred to as Parties shall be allowed
      to participate in these consolidated actions as parties. Any answers to the
      Petitions for Review attached to applications to intervene as exhibits are
      deemed filed.

   3. All Parties shall submit for the Court’s consideration at least one (1) but no
      more than two (2) proposed 17-district congressional redistricting plan(s) that
      are consistent with the results of the 2020 Census and, if the party chooses to
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   do so, a supporting brief and/or a supporting expert report, by 5:00 p.m. on
   Monday, January 24, 2022.

4. Parties must file a responsive brief and/or a responsive expert report (from the
   same expert who prepared the January 24 report or any other expert),
   addressing other parties’ January 24 submissions, by 5:00 p.m. on
   Wednesday, January 26, 2022.

5. The Applications for Leave to Intervene as parties filed by (i) Voters of the
   Commonwealth of Pennsylvania; (ii) Citizen-Voters; (iii) Draw the Lines-PA;
   and (iv) Khalif Ali et al. are DENIED.

   Voters of the Commonwealth of Pennsylvania, Citizen-Voters, Draw the
   Lines-PA, and Khalif Ali et al., are permitted to participate in these matters as




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   Amicus Participants, which means that their participation shall be limited to



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   submissions to the Court in writing as set forth in Paragraph 6 of this Order.
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6. Amicus Participants who wish to submit for the Court’s consideration one (1)
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   proposed 17-district congressional redistricting map/plan that is consistent
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   with the results of the 2020 Census shall file the proposed map/plan and, if
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   the Amicus Participant chooses to do so, a supporting brief and/or a
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   supporting expert report, by 5:00 p.m. on Monday, January 24, 2022.
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7. All proposed 17-district congressional redistricting maps/plans shall comply
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   with constitutional standards and any other standards required by law.
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8. After submission, no proposed plan/map may be later modified or amended.

9. No Party or Amicus Participant may take discovery in this matter.

10.The Parties shall submit to the Court a Joint Stipulation of Facts by 2:00 p.m.
   on Wednesday, January 26, 2022.

11.The Court shall conduct an evidentiary hearing on Thursday, January 27,
   2022, and Friday, January 28, 2022, participation in which is limited to the
   Parties as identified herein. The hearing will begin at 9:30 a.m. in Courtroom
   3001 of the Pennsylvania Judicial Center, Harrisburg, PA. It shall be the
   responsibility of Petitioners to secure the services of a court reporter(s)
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   throughout the duration of the hearing. Each Party is limited to presenting
   one witness at the hearing, who shall be subject to cross examination by the
   other Parties. Opening and closing statements and argument by Parties shall
   be permitted. The Court will also consider revisions to the 2022 election
   schedule/calendar as part of the hearing.

12.If the General Assembly has not produced a new congressional map by
   January 30, 2022, the Court shall proceed to issue an opinion based on the
   hearing and evidence presented by the Parties.



                                       s/ Patricia A. McCullough
                                       PATRICIA A. McCULLOUGH, Judge




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